Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 1 of 10 Page ID
                                #:21931


  1   VINCENT J. BELUSKO (CA SBN 100282)
      VBelusko@mofo.com
  2   HECTOR G. GALLEGOS (CA SBN 175137)
      HGallegos@mofo.com
  3   JONATHAN M. SMITH (CA SBN 292285)
      JonathanSmith@mofo.com
  4   MORRISON & FOERSTER LLP
      707 Wilshire Boulevard
  5   Los Angeles, California 90017-3543
      Telephone: 213.892.5200
  6   Facsimile: 213.892.5454
  7   JACK W. LONDEN (CA SBN 85776)
      JLonden@mofo.com
  8   DIANA B. KRUZE (CA SBN 247605)
      DKruze@mofo.com
  9   SHAELYN DAWSON (CA SBN 288278)
      Shaelyndawson@mofo.com
10    MORRISON & FOERSTER LLP
      425 Market Street
11    San Francisco, California 94105-2482
      Telephone: 415.268.7000
12    Facsimile: 415.268.7522
13    Attorneys for Defendants
      NIKON CORPORATION and NIKON INC.
14
                                 UNITED STATES DISTRICT COURT
15
                                CENTRAL DISTRICT OF CALIFORNIA
16
                                            WESTERN DIVISION
17
18    CARL ZEISS AG and ASML                      Case No. 2:17-cv-07083 RGK (MRWx)
      NETHERLANDS, B.V.,
19                                                DEFENDANTS NIKON
                              Plaintiffs,         CORPORATION AND NIKON
20                                                INC.’S RESPONSE TO
              v.                                  PLAINTIFFS’ OBJECTIONS TO
21                                                DEFENDANTS’
                                                  DEMONSTRATIVES
22    NIKON CORPORATION, SENDAI                   (PLAINTIFFS’ MOTIONS AT ECF
      NIKON CORPORATION, and                      NOS. 474, 475, AND 476)
23    NIKON INC.,
                                                  Trial Date: December 4, 2018
24                            Defendants.         Time:       9:00 a.m.
                                                  Courtroom: 850, 8th Floor
25
                                                  Hon. R. Gary Klausner
26
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 2 of 10 Page ID
                                #:21932


  1                                                    Table of Contents
  2                                                                                                                             Page
  3   I.      INTRODUCTION ............................................................................................ 1
      II.     PLAINTIFFS ARGUMENTS RELATING TO PROSECUTION HISTORY
  4           ESTOPPEL ARE MOOT (PLAINTIFFS’ OBJECTION AT ECF NO. 474) . 1
  5   III.    DR. KLEINFELDER IS NOT INTRODUCING ANY NEW
              INFRINGEMENT THEORIES (PLAINTIFFS’ OBJECTION AT ECF NO.
  6           475) ................................................................................................................... 3
      IV.     NIKON PROPERLY DISCLOSED THE TAKAHASHI EP REFERENCE
  7           (PLAINTIFFS’ OBJECTION AT ECF NO. 476) ........................................... 4
  8   V.      CONCLUSION ................................................................................................ 7

  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                                   i
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 3 of 10 Page ID
                                #:21933


  1           I.      INTRODUCTION
  2           Plaintiffs have filed three separate written objections in the last twelve hours.
  3   (See ECF Nos. 474-476.) Nikon addresses each motion below.
  4         II.  PLAINTIFFS ARGUMENTS RELATING TO PROSECUTION
                 HISTORY ESTOPPEL ARE MOOT (PLAINTIFFS’
  5              OBJECTION AT ECF NO. 474)

  6           Plaintiffs’ first filing (ECF No. 474) objects to the use of certain
  7   demonstrative slides that include the words “prosecution history estoppel.” As an
  8   initial matter, Nikon updated its slides after the parties’ meet-and-confer but
  9   Plaintiffs had already filed their motion. Nikon has since deleted all references to
10    “prosecution history estoppel,” and Plaintiffs’ objection is moot. For example,
11    Plaintiffs point to former JTX-4.88, which was as follows:
12
13
14
15
16
17
18
19
20    This slide now appears as follows, and does not reference prosecution history

21    estoppel:

22
23
24
25
26
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                  1
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 4 of 10 Page ID
                                #:21934


  1   Additionally, Plaintiffs objected to the following slide:
  2
  3
  4
  5
  6
  7
  8
  9
10    Nikon changed this slide to delete any reference to prosecution history estoppel, as
11    follows:
12
13
14
15
16
17
18
19
20    Finally, Plaintiffs object to the following slide:
21
22
23
24
25
26
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                 2
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 5 of 10 Page ID
                                #:21935


  1   Nikon has deleted this slide. Accordingly, Plaintiffs’ objections regarding Nikon’s
  2   demonstrative exhibits are moot.
  3           Regarding testimony, Plaintiffs spend the majority of their objections (ECF
  4   No. 474) arguing that prosecution history estoppel is a legal question for the Court
  5   to decide. Nikon does not disagree. Plaintiffs, however, miss the point. Nikon
  6   does not plan to ask the jury to find that prosecution history estoppel applies.
  7   Rather, Nikon is entitled to use the prosecution histories in order to defend itself
  8   against Plaintiffs’ infringement allegations under the doctrine of equivalents. See,
  9   e.g., GPNE Corp. v. Apple Inc., 108 F. Supp. 3d 839, 855 (N.D. Cal. 2015)
10    (“Apple’s support for its argument, including references to the prosecution history
11    of the Asserted Patents, helped the jury to apply the plain and ordinary meaning of
12    node’ to the accused devices, and thus was proper.”); Cordis Corp. v. Medtronic
13    Ave, Inc., 511 F.3d 1157, 1178 (Fed. Cir. 2008) (explaining that “the prosecution
14    history leaves room for the jury to determine whether the NIR stent has a wall
15    surface comparable to the stent disclosed in the ’762 patent that would infringe
16    either literally or under the doctrine of equivalents”).
17            Accordingly, because Nikon has removed the material that Plaintiffs objected
18    to and does not plan to argue prosecution history estoppel to the jury, the objection
19    should be overruled as moot.
20          III. DR. KLEINFELDER IS NOT INTRODUCING ANY NEW
                  INFRINGEMENT THEORIES (PLAINTIFFS’ OBJECTION AT
21                ECF NO. 475)
22            Plaintiffs’ assertion that Dr. Kleinfelder is introducing a new
23    noninfringement theory against the ’574 patent misinterprets Defendants’
24    demonstratives. Dr. Kleinfelder does not intend to present any new theory of non-
25    infringement. Rather, he intends to respond to the alleged evidence of infringement
26    that Plaintiffs’ expert Dr. Subramanian introduced at trial. As stated in the advisory
27    committee notes to Federal Rule of Evidence 703, experts may rely upon testimony
28    heard at trial establishing the facts of the case. See Fed. R. Evid. 703 advisory
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                 3
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 6 of 10 Page ID
                                #:21936


  1   committee notes (1972); see also Robertson v. McNeil-PPC, Inc., No. 2:11-CV-
  2   09050-JAK-SS, 2014 WL 12577147, at *4 (C.D. Cal. July 14, 2014) (finding that
  3   the scope of rebuttal testimony was to be evaluated based on scope of direct
  4   testimony of opposing side’s expert). In his report, Dr. Kleinfelder stated his
  5   opinion that the accused products do not infringe Claim 30 of the ’574 patent, and
  6   his testimony will be limited to responding to Dr. Subramanian’s testimony.
  7   Plaintiffs’ objection should thus be overruled.
  8           Plaintiffs also misinterpret both Dr. Kleinfelder’s slides and expert report
  9   regarding the timing diagram for Takahashi at step (c). As quoted in Plaintiffs’
10    objection, Dr. Kleinfelder stated in his report that “[d]uring time T0, the reset
11    transistor ɸR and select transistor ɸS are both on, and transfer transistors ɸTXo0
12    and ɸTXe0 are off.” (ECF No. 475-3, App’x C-1 at 6; see also ECF No. 475 at
13    4.) In DDX-4.67, the highlight includes the portion of T0 where the reset transistor
14    and select transistor are both on, and transfer transistors ɸTXo0 and ɸTXe0 are off
15    as stated in Dr. Kleinfelder’s report. (ECF No. 476-2.) The highlight itself is
16    merely demonstrative and an aid the jury in understanding Dr. Kleinfelder’s
17    testimony. Dr. Kleinfelder does not intend to testify that the Figure itself shows
18    where the reset transistor is first turned on. This was discussed during the parties’
19    meet-and-confer on December 8, specifically that Dr. Kleinfelder is not offering
20    any new opinions. Given that Dr. Kleinfelder does not intend to present any
21    testimony that expands his report, and that the yellow highlight is merely
22    demonstrative, Plaintiffs’ objection should be overruled.
23         IV. NIKON PROPERLY DISCLOSED THE TAKAHASHI EP
                  REFERENCE (PLAINTIFFS’ OBJECTION AT ECF NO. 476)
24
25            Plaintiffs have no basis for objecting to Dr. Kleinfelder’s use of the

26    Takahashi EP reference. (ECF No. 476.) First, Dr. Kleinfelder discussed the

27    Takahashi EP reference in his report and explained in clear terms that his analysis

28    with respect to Takahashi EP is the same as for Takahashi US. Thus, contrary to
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                 4
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 7 of 10 Page ID
                                #:21937


  1   Plaintiffs’ assertion, Dr. Kleinfelder did provide analysis for the reference in his
  2   report. Second, the two references are virtually identical. Plaintiffs identify only a
  3   single difference—addition of the word “perfectly” to the abstract in the Takahashi
  4   US reference—but that phrase is already found in the body of Takahashi EP. Third,
  5   Plaintiffs complain that Dr. Carley plans to use the Takahashi US reference on
  6   rebuttal. But Nikon’s use of the Takahashi EP reference does not preclude Dr.
  7   Carley from using the Takahashi US reference. Indeed, it is Nikon’s case-in-chief
  8   and Dr. Carley’s preference does not dictate what Dr. Kleinfelder can The bottom
  9   line is that Dr. Kleinfelder disclosed both references long ago, and Nikon is well
10    within its right to assert both during trial.
11            Dr. Kleinfelder clearly indicated in the body of his report that he relied on
12    both the U.S. Patent and European application in his report:
13
14
15
16
17
18
19
20
21
22    (Declaration of Shaelyn Dawson In Support of Nikon’s Resp. to Pls.’ Motions at
23    ECF Nos. 474-476 (“Dawson Decl.”) Ex. 1 (Kleinfelder Rebuttal Rpt.”) ¶ 75.) And
24    in the relevant claim chart attached to his report, Dr. Kleinfelder again indicated
25    that he relied on both the Takahashi US and Takahashi EP references, explaining
26    that the two references (which are virtually identical) include the same disclosure:
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                  5
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 8 of 10 Page ID
                                #:21938


  1
  2
  3
  4
  5
  6
  7
  8   (Id., ECF No. 476-3, App’x C-1 at 1.) Thus, it is clear that Dr. Kleinfelder relied
  9   on both references and that his analysis is the same for both. Indeed, Dr.
10    Kleinfelder’s discussion of Takahashi in his report encapsulates both publications
11    the US and EP references. (Dawson Decl. Ex. 1 (Kleinfelder Rebuttal Rpt.) ¶¶ 76-
12    89, 119-126.) Plaintiffs did not—and cannot—refute this.
13            Nikon also disclosed both Takahashi US and Takahashi EP in accordance
14    with the notice requirements of 35 U.S.C. § 282:
15
16
17
18
19
20
21
22
23
24
25
26    (Dawson Decl. Ex. 2.)
27            Nikon thus included the reference in the list of references it would rely on at
28    trial. Accordingly, Plaintiffs cannot now complain that Nikon is precluded from
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                 6
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 9 of 10 Page ID
                                #:21939


  1   relying on the Takahashi EP reference. Additionally, Dr. Kleinfelder disclosed the
  2   reference in his report, indicated that he relied upon it, and explained that his
  3   analysis with respect to Takahashi EP was the same as for Takahashi US.
  4           Plaintiffs also suffer no prejudice because the two references are virtually
  5   identical. Plaintiffs identify only a single difference between the two references—
  6   the addition of the word “perfectly” to the preamble. While “perfectly” is not found
  7   in Takahashi EP’s abstract, it is found in the body of Takahashi EP:
  8
  9   Takahashi US at Abstract                       Takahashi EP at Col. 5, Lines 19–21
10    charges generated by a photoelectric           light generation carriers to be perfectly
11    converting device are perfectly                transferred to the FD portion 21.
12    transferred to a floating diffusion
13    portion
14    In each reference, the disclosure is the same—charges are transferred perfectly to a
15    floating diffusion (i.e., “FD”). Thus, even the single difference identified by
16    Plaintiffs is in fact illusory, since the Takahashi EP reference discloses that concept
17    elsewhere.
18            Finally, Plaintiffs’ assertion that Dr. Kleinfelder should be precluded from
19    relying on Takahashi EP because Dr. Carley intends to rely on the abstract of
20    Takahashi US is a non-sequitur. Dr. Carley is free to rely on the Takahashi EP
21    reference, which he addressed during his deposition. (Dawson Decl. Ex. 3 (Carley
22    Dep. Tr.) at 225:20-230:11.)
23            V.      CONCLUSION
24            For the foregoing reasons, Plaintiffs’ written objections at ECF Nos. 474,
25    475, and 476 should each be denied.
26
27
28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                 7
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
Case 2:17-cv-07083-RGK-MRW Document 477 Filed 12/09/18 Page 10 of 10 Page ID
                                #:21940


  1   Dated: December 9, 2018                    Respectfully submitted,
  2
                                                 VINCENT J. BELUSKO
  3                                              MORRISON & FOERSTER LLP
  4
  5                                              By: /s/ Vincent J. Belusko
                                                     Vincent J. Belusko
  6
                                                 Attorneys for Defendants
  7                                              NIKON CORPORATION
                                                 AND NIKON INC.
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      Case No. 2:17-cv-07083 RGK (MRWx)
                                                  8
      NIKON’S RESPS. TO PLS.’ ECF NOS. 474-476
      sf-3970334
